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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DENA NATOUR FOR MINOR               )
HADI ABUATELAH ,                    )
                                    )
            Plaintiffs,             )                  Case No. 22-cv-03998
                                    )
      v.                            )                  Hon. Steven C. Seeger
                                    )
CHIEF OF POLICE OAK LAWN POLICE )
DANIEL VITTORIO, OFFICER B.         )
COLLINS, OFFICER P. O’DONNELL       )
OFFICER M. HOLLINGSWORTH and        )
THE VILLAGE OF OAK LAWN             )
            Defendants.             )
____________________________________)


                           MOTION TO WITHDRAW AS COUNSEL

NOW COMES, Plaintiff Attorney, Emma Melton, of CAIR-Chicago in her motion to withdraw as

counsel for Plaintiff. In support of this motion, she states as follows:

        1. Plaintiff has adequate counsel through Zaid Abdallah of Abdallah Law who has already

             entered an appearance as lead attorney on the above-captioned case.

        2. Counsel, Emma Melton, is no longer employed by CAIR-Chicago, and another

             attorney from this organization will file an appearance as soon as possible.

        3. Plaintiff does not object to this withdrawal.

Plaintiff respectfully requests this Court grant Emma Melton’s request to withdraw as counsel for

Plaintiff.



                Respectfully submitted,

                        Emma Melton
                        CAIR-Chicago
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